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    TRULINCS 30326086 - STIRLING, JOHN PHILIP - Unit: SHE-J-J


      FROM: 30326086
    · TO:
      SUBJECT: ORDER OF THE COURT
      DATE: 08/11/2020 07:01:18 AM

     UNITED STATES DISTRICT COURT FOR PORTLAND OREGON

     JOHN PHILIP STIRLING

        vs
     CHINA ,ET AL , SPECIFICALLY The Chinese Communist Party , The WuHan Bio Laboratory in WuHan China . )




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       ORDER

     US Magistrate Judge Beckerman

       I find the Defendants in tliis case are in default . Specifically " The Chinese Communist Party ,et al " and " The WuHan

     Bio Laboratory " and the "Wuhan Viral Laboratory " and affiliates . The Defendants have failed to respond or defend

     themselves in this Law suit served to them by the plaintiff under 28 USC 1608(c)(1).

        IT IS ORDERED that together or separately the defendants pay the defendant $30,000,000:00 USO ( Thirty Million United

    States Dollars ) in damages .

     _ _/ __/2020


                                                                   Stacey Beckerman US Magistrate Judge
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